Case 2:19-cv-11771-MAG-RSW ECF No. 22, PageID.74 Filed 03/11/20 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

LOLA LUCIO,

               Plaintiff,
                                                          Case No. 19-cv-11771
v.
                                                          HON. MARK A. GOLDSMITH
EDMONDS ENTERPRISE, INC.,

            Defendant.
_____________________________/

                            ORDER DISMISSING CASE WITH PREJUDICE

       The Court, having been advised that this matter has settled, dismisses the case with

prejudice, subject to reopening within 30 days, if the settlement is not consummated, or if the

parties stipulate to some other order of dismissal.

       SO ORDERED.

Dated: March 11, 2020                                     s/Mark A. Goldsmith
       Detroit, Michigan                                  MARK A. GOLDSMITH
                                                          United States District Judge




                                                 1
